Case 1:17-cv-OOl41-PLI\/|-P.]G ECF No. 9-3 filed 02/16/17 Page|D.?S Page 1 of 7

EXHB|T ”C"

SEE PREL|M|NARV EXAN||NAT|ON
soT“.LJuchlAL DlsTRlcT couRT, Dl-:c 19“*., 2008

FOR A CERT|F|ED, TRUE, ACCURATE
TRANSCR|PTION OF JUDGES OP|NION ON THE
CULPAB|L|TY OF R|CHARD & PATR|C|A DECHENEY

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STATE OF MICHIGAN
IN THE 60TH DISTRICT COURT FOR THE COUNTY OF MUSKEGON
PEOPLE OF THE STATE OF MICHIGAN
V D.C. 08-105995-FY
ROGER ROBERTS C.C. 08-057305-FH
/

 

PRELIMINARY EXAMINATION

BEFORE THE HONORABLE RICHARD J. PASARELA
District Court Judge
Muskegon, Michigan - December 19, 2008

APPEARANCES:

For the People: MR. DALE J. HILSON P-57726
Senior Prosecuting Attorney
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Muskegon, MI 49442
(231) 724-6435

For the Defendant: MR. SCOTT GRABEL P-3551O
Attorney at Law
1345 Bridlewood Ln.
Williamston, MI 48895
(800) 342-7896

Transcribed by: SALLY A. JOHNSON-MCGORAN CER 3460
ReCOrded by: VALERIE WILLIAMS CER 6232

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statue and both of them tied to language that you pointed me
to in the first place. A person who knowingly allowed a child
to engage. There doesn't seem to be any exclusion in that for
mOm and ddd. S€COnd proposition, relative to sub section 6,
assuming for the purposes of argument that parental action can
accomplish an emancipation, the legal question becomes can
that action if it constitutes a crime be effective to
emancipate the minor for purposes of participating in a crime?

MR. GRABEL: Of course if the person is emancipated
then obviously it’s not a crime.

THE COURT: No, no. You haven't -~-~ you have not
shown me anything in this hearing that would suggest an
emancipation beyond the document you’re pointing to. If I
understand your argument correctly the entire thrust of the

emancipation affirmative defense under sub section 6 has to do

'with a consent form signed by both the named alleged victim

and the victim -~-- named alleged victim's parents. My point
is it does not appear that I ---- that I can find, and I'd be
happy to look at it if anyone can point to it, that there's an
exemption in the statute from a person who da, da, da, da,

knowingly allowed for child sexual abusive activity. There’s

 

no exception in there for parents.

/ -

MR. GRABEL: I see. Well, and I understand.
THE COURT: And what you’ve just put on the record

here and had elicited from this officer is that the parents

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§ aSe 1:17-cv-00141-PL|\/|-P.]G ECF No. 9-3 filed 02/16/17 PagelD.76 Page 4 of 7

consent to participation in X rated activity, punitively at
least, potentially at least, that seems to create some

culpability for parents. Now the next question is, if this is

 

 

the only document that you're pointing to as an indication of

5 emancipation of what would otherwise -~-- who would otherwise
6 be considered a minor under the age of 18, the legal question,
7 relevant legal question would seem to be can parents by a

8 criminal act emancipate the minor for participation in the

9 same criminal act? Can I agree that you can forcibly rape my
10 daughter? The answer is no.

11 MR. GRABEL: 1 think that's a different ----

12 THE COURT: No, it’s not. The only difference is is
13 that --~- is the name of the charge, not the idea that it’s a
14 crime.
15 MR. GRABEL: There’s'no affirmative defense under CSC
16 1 that you can sign away to be forcibly rape.

17 THE COURT: Okay. So are you going to argue to me

18 that there is a mechanism by which you *can sign away, as you
19 put it, the ability to escape culpability for another type of
20 felony?

21 MR. GRABEL: No, I guess --- I guess certainly
22 consent is the defense in some felonies but understand
23 something, are you suggesting that if the court legally
24 emancipated Ms. Dechaney aren’t they participating in a crime?
25 THE COURT: No, no, no. If ---- Well, first of all, a

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1 MR. GRABEL: Hear me out.

2 THE COURT: If it walks like a duck, quacks like a

3 duck ~---

4 MR. GRABEL: Well, let m ----

5 THE COURT: ---- and looks like a duck -~--

6 MR. GRABEL: Well, let me ---- let me say --~- let me
7 give you a statement that in my opinion is even more perverse.
8 The sex here would be legal because she’s over 16, but if he
9 tapes it, felony. So I mean that sounds per ---- that sounds
10 like the law is perverse, so perhaps in my opinion -----
11 THE COURT: I’m not trying to be the legislature

12 here.

13 MR. GRABEL: No, I know that. I agree.

14 THE COURT: Okay. And they made that determination

that they’re two separate offenses here and as you pointed

out, the prosecutor correctly pointed out in the very

 

beginning of the hearing, we're not dealing with a rape case,

18 okay? That ---- that the activity was memorialized in some

19 fashion, in this case video, and otherwise fits ---~ fits the
20 gravamen of the fact of ---- makes it a stand alone separate
21 ---- separate offense. You're pointing me to an exemption

22 from culpability based on sub section 6 drawing an objection
23 from the prosecution that it is now ---- it is irrelevant.

24 Now I initially made a ruling on that that it ---- that it was
25 relevant. Now you’ve put the language in, in this consent

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JUDGE'S OP`.[NION: EXHIBIT "11", L. 16-17.

 

 

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form, that specifically says the parents are consenting to
potentially having this child participate in X rated activity

and it’s ---- I gather from the four corners of that document

 

it’s X rated activity intended to be memorialized in some form

of video or print form. That seems to me to make the parents
subject to culpability under the statute as people who would
allow the ramification off of that and the ruling is that you
----- parents cannot by a criminal act emancipate a minor to
participate in the very criminal act.

MR. GRABEL: And I appreciate the court’s thoughtful
analysis.

THE COURT: Okay, so -~-~ I'll reconsider my ruling
on the relevancy ground. lt is now irrelevant because ----

MR. GRABEL: Thank you, Your Honor.

THE COURT: ----- the parents are participating in a
crime.

MR. GRABEL: I appreciate the court’s thoughtful
analysis on that. I really do.

BY MR. GRABEL:

Q Officer, at this point after you, I guess left the, I guess
the gym facility to get these documents that we’ve discussed,
what did you then next do?

A I went back to --~- after that I attempted to, I believe it
was my next duty day which was by this point it was close to

when I go off duty, I worked on the initial report and then

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h CHIGAN

3 COUN‘I'Y OF MUSKEGON

4l I, Sally A. Johnson~McGoran, do hereby certify that I am a
5 Certified Court Recorder for the 60th District Court of
6 Muskegon County, that the foregoing transcript of record is a
7 full, true and correct copy of the proceedings had at the time
8 and place and in the matter hereinbefore set forth, as
9 transcribed by me.
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M 13 :¥)Q¢MA.§ bligggp ‘“H};,,Zlg;;,
14 Sally A. Johnson-McGoran, CER 3460
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16 DATE: January 14, 2009
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